                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                              Case No. 7:14-CV-00237-BR
 
BEN ARTIS,                                         )
DIANE ARTIS,                                       )
LUCY SIDBERRY,                                     )
LEOLA JACOBS,                                      )
GERTIE JACOBS,                                     )
EDNA ALLISON,                                      )
LENORA NICHOLSON,                                  )
EDDIE NICHOLSON,                                   )
JOYCE MESSICK,                                     )
WILLIE MESSICK,                                    )
JOHN TAYLOR,                                       )
JAMES JACOBS,                                      )
JIMMY CARR,                                        )
PHYLLIS WRIGHT,                                    )
LENORA HOLMES, and                                 )
JAMES HOLMES, and                                  )
                                                   )
       PLAINTIFFS,                                 )
                                                   )
       v.                                          )
                                                   )
MURPHY-BROWN, LLC d/b/a SMITHFIELD                 )
HOG PRODUCTION DIVISION,                           )
                                                   )
       DEFENDANT.                                  )

                             THIRD AMENDED COMPLAINT

       Plaintiffs hereby file their Third Amended Complaint against the Defendant Murphy-

Brown, LLC d/b/a Smithfield Hog Production Division and allege as follows:

  I.   INTRODUCTION

       1.       The Plaintiffs are residents of Pender County. During the pertinent times they

have resided in close proximity to thousands of hogs owned by the Defendant kept in one or

more Concentrated Animal Feeding Operations (“CAFOs” or “hog facilities”). There are three




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hog facilities within close proximity of these Plaintiffs which are or during pertinent time were

operating. These facilities are:

            i.   The Paul Stanley 5 (now Greenwood 1) facility, adjacent to Plaintiffs Ben and
                 Diane Artis. It has Permit Number AWS710090, a facility address of 7448 Piney
                 Woods Road, Watha NC 28478, and its approximate GPS coordinates are latitude
                 34.5728, longitude -78.0742.

         ii.     The Paul Stanley No. 6 (now Greenwood 2) facility, adjacent to Plaintiff Jimmy
                 Jacobs. It has Permit Number AWS710017, a facility address of 6500 Piney
                 Woods Road, Watha NC 28478, and its approximate GPS coordinates are latitude
                 34.5717, longitude -78.0572.

        iii.     The Paul Stanley No. 7 facility, adjacent to the New Hope Missionary Church
                 where a number of the plaintiffs are members. It has Permit Number:
                 AWS710043, a facility address of 2772 Piney Woods Road, Watha 28478, and its
                 approximate GPS coordinates are latitude 34.563599, longitude -78.018109.

Collectively, these facilities hold thousands of Defendant’s hogs at any given time.

       2.        Hogs generate multiple times more manure than humans. Defendant’s hogs at the

CAFO facilities generate many times more sewage than entire towns. Yet Defendant has failed

to take adequate steps to manage the number of hogs or otherwise abate the obnoxious, recurrent

odors and other causes of nuisance. The hog waste includes ammonia, hydrogen sulfide and

numerous other elements that are very foul-smelling and can also cause disease. This has

impaired the Plaintiffs’ use and enjoyment of their properties.

       3.        The presence of Defendant’s hogs has also caused periodic swarms of flies and

other pests. Large flies periodically descend upon Plaintiffs’ property, interfering with activities.

These insects are vectors for disease.

       4.        Defendant’s hogs also necessitate large trucks crawling up and down the streets

near Plaintiffs’ homes. The country roads normally would never be subjected to having repeated




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episodes of large tractor-trailers and other big trucks taking feed to the hogs, trucking in live

hogs, and trucking out live and dead hogs. These trucks cause further nuisance.

       5.       The “lagoon and spray” waste disposal system is outmoded and has been banned

for new farms. The combination of the hog sheds, waste pits under slatted floors, waste lagoons

and spray fields causes periodic foul odor and spreads germs and injurious substances.

Defendant is a large enterprise with the ability to end the nuisance. It is a corporation with

operations in multiple states and is a wholly-owned subsidiary of a multi-state corporation

known as Smithfield Packaged Meats. Sun Merger Sub, Inc., a Virginia corporation and a

wholly owned subsidiary of Shuanghui International Holdings, Limited, merged with and into

Smithfield Foods, Inc. on September 26, 2013. As a result of that merger, Smithfield Foods, Inc.

became a wholly owned subsidiary of Shuanghui International Holdings, Limited, which

changed its name to WH Group Limited in 2014. Smithfield Foods, Inc. reported sales for the

first quarter of 2014 of $3.4 billion and net income of $105.3 million, and a subsidiary of

Shuanghui International Holdings, Limited paid $34 per share to the former shareholders of

Smithfield Foods, Inc. for 138,696,747 shares of Smithfield Foods, Inc.’s Common Stock.  

  II. PARTIES

       A.       Plaintiffs.

       1.      Plaintiff Ben Artis is a resident of North Carolina who resides at 7350 Piney

Woods Road in Willard, Pender County, North Carolina.

       2.      Plaintiff Diane Artis is a resident of North Carolina who resides at 7350 Piney

Woods Road in Willard, Pender County, North Carolina.

       3.      Plaintiff Lucy Sidberry is a resident of North Carolina who resides at 7679 Piney

Woods Road in Willard, Pender County, North Carolina.



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      4.      Plaintiff Leola Jacobs is a resident of North Carolina who resides at 8036 Piney

Woods Road in Willard, Pender County, North Carolina.

      5.      Plaintiff Gertie Jacobs is a resident of North Carolina who resides at 8038 Piney

Woods Road in Willard, Pender County, North Carolina.

      6.      Plaintiff Edna Allison is a resident of North Carolina who resides at 8038 Piney

Woods Road in Willard, Pender County, North Carolina.

      7.      Plaintiff Lenora Nicholson is a resident of North Carolina who resides at 8134

Piney Woods Road in Willard, Pender County, North Carolina.

      8.      Plaintiff Eddie Nicholson is a resident of North Carolina who resides at 8162

Piney Woods Road in Willard, Pender County, North Carolina.

      9.      Plaintiff Joyce Messick is a resident of North Carolina who resides at 8107 Piney

Woods Road in Willard, Pender County, North Carolina.

      10.      Plaintiff Willie Messick is a resident of North Carolina who resides at 8107 Piney

Woods Road in Willard, Pender County, North Carolina.

      11.      Plaintiff John Taylor is a resident of North Carolina who resides at 8061 Piney

Woods Road in Willard, Pender County, North Carolina.

      12.      Plaintiff James Jacobs is a resident of North Carolina who resides at 6506 Piney

Woods Road in Willard, Pender County, North Carolina.

      13.      Plaintiff Jimmy Carr is a resident of North Carolina who resides at 6464 Piney

Woods Road in Willard, Pender County, North Carolina.

      14.      Plaintiff Phyllis Wright is a resident of North Carolina who resides at 6369 Piney

Woods Road in Willard, Pender County, North Carolina.




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       15.      Plaintiff Lenora Holmes is a resident of North Carolina who resides at 3926

Piney Woods Road in Willard, Pender County, North Carolina.

       16.      Plaintiff James Holmes is a resident of North Carolina who resides at 3926 Piney

Woods Road in Willard, Pender County, North Carolina.

       B.       Defendant

       17.      Defendant Murphy-Brown, LLC d/b/a Smithfield Hog Production Division is

a limited liability company organized under the law of Delaware, whose sole member is

Smithfield Packaged Meats, a corporation incorporated under the law of Delaware. Smithfield

Packaged Meats’s principal office is located in Ohio. Smithfield Packaged Meats is a wholly-

owned subsidiary of Smithfield Foods, Inc., a corporation incorporated under the law of Virginia

with its principal office located at 200 Commerce Street, Smithfield, VA 23430. Defendant has

conducted business in North Carolina.

   III. JURISDICTION AND VENUE

       18.      The Court has personal jurisdiction pursuant to N.C. Gen. Stat. § 1-75.4.

       19.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that this is a district in

which a substantial part of the events or omissions giving rise to the claim occurred, and in

which a substantial part of property that is the subject of the action is situated.

       20.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) in

that this is an action in which the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs, and is between citizens of different states.




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   IV. FACTUAL BACKGROUND

       A. Background Regarding the Plaintiffs.

       21.     During the pertinent times, the Plaintiffs have suffered injury and harm as a direct

result of the thousands of swine placed near their homes by Murphy-Brown. Defendant’s

thousands of hogs generate feces and urine that fall onto slatted floors and adhere to hog bodies,

dry into particulate dust, adhere to skin cells from pigs, and drip and trickle under the slatted

floor into holding ponds below the floors that hold raw feces and urine. Stench rises from below

the floor and from throughout the hog sheds, and the dust, skin cells, dander, particulates, dried

fecal matter and stench from below-floor manure is sent out into the environment by large fans

set in hog shed walls or by other means.

       22.     The urine and feces go into giant holding ponds outdoors from which it

evaporates and may leak and spill. The uncovered cesspools they are free to evaporate odor into

the air and attract flies. The slurry or liquid containing the urine and feces is also sprayed into

the air and onto fields around the hog sheds causing odorous fecal and urinous mist to drift

through the air, go onto neighboring lands, and moisture and matter to fall and puddle on the soil

so that more odor rises off it. Sites must spray large quantities or else the “lagoons” will

overflow. One or more Plaintiffs have witnessed spraying and spray mist. The spraying regularly

occurs and causes stench. The sites also breed and attract flies and other insects. Dead hogs are

placed in “dead boxes” where they rot until picked up by “dead trucks.” Large hog trucks carry

hogs into and out of the facilities. All of these activities cause temporary, periodic, abatable

nuisance odor, annoyance, dust, noise and loss of use and enjoyment of homesteads. The stench

and associated nuisance also embarrasses and humiliates the Plaintiffs.




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       23.     Plaintiffs have suffered episodes of noxious odor, flies and pests, nausea, burning

and watery eyes, stress, anger, worry, loss of use and enjoyment of their property, inability to

comfortably engage in outdoor activities, cookouts, gardening, lawn chores, drifting of odorous

mist and spray onto their land, inability to keep windows and doors open, difficulty breathing

and other harms.

       24.     Plaintiffs have employed measures and incurred expenses to try to protect

themselves from the odors, pests, and nuisance from the hog sites and large hog trucks that pass

up and down their rural roads. They variously engage in keeping windows and doors closed and

running air conditioner during mild weather, caulking and employing other sealants on windows

and doors, purchasing cans of spray insecticides, paying to have their yards sprayed with

pesticides, purchasing flypaper strips, purchasing scented candles or incense, and purchasing air

fresheners, purifiers, and deodorizers.

       25.     Plaintiffs have suffered smells from hog feces, urine, body odor, and corpses; the

sight of dead, bloated, and decaying hogs; liquid dripping from passing hog trucks and “dead

trucks;” increased pest populations; and other aspects of the nuisance. The Plaintiffs feel angry,

fearful and worried about their and their children’s health.

       26.     Many of the affected neighbors are African-Americans whose roots in the area

can be traced sometimes back to Reconstruction or even earlier. These African-American rural

communities were here long before Murphy-Brown and the CAFOs. Further, many in these

minority communities are low-income and live in homes or mobile homes ill-equipped to combat

the foul smells and other recurring nuisances from Defendant’s hogs. When the thousands of

hogs were first trucked in, Defendant and its predecessors were well aware they were putting the

hogs in minority and low-income communities especially vulnerable to the nuisance.



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       27.     Members of low-income rural communities traditionally have engaged in

activities like hanging out their clothes to dry to save utility and appliance costs. They often tend

gardens in their yards for extra food. Running a fan or opening the windows can save air

conditioning costs. The hog nuisance gets in the way of all these activities. Also, extended

families of related relatives live in the same neighborhood. They like to walk over to each

other’s homes and socialize and have cookouts together or sit on the porch together. The hog

nuisance interferes with these activities as well.

       28.     The nuisance from the trucks is serious in itself. On information and belief, the

conditions for the hogs inside of the transport trucks is often crowded and dirty. The trucks

inside can become smeared with raw feces and urine and stench from the hot crowded hogs. The

odor and waste spilled from the trucks cause episodes of nuisance.

       29.     Defendant never asks for the Plaintiffs’ permission before bringing new loads of

hogs into the neighborhood or allowing spraying of waste in the air which creates vapor. Nor

did Defendant’s predecessors ask for Plaintiffs’ permission before siting the CAFOs or their

spray fields or cesspools. To the contrary, Defendant and its predecessors went out of their way

to encourage and set up the CAFOs. In fact on information and belief, from time to time

Murphy-Brown or its predecessors have even assisted with procuring loans to facilitate the

construction of a CAFO, or have provided materials to construct facilities and dig lagoons.

       30.     On information and belief, for one or more CAFOs, Murphy-Brown and its

predecessors have helped pick the site, have come over and staked off the lot to have the hog

houses and lagoons built, and have even paid for the materials to build the lagoons and hog

houses. From time to time Murphy-Brown or its predecessors have specified use of the “reel and

gun” system of spray irrigation even though it causes more vapor and nuisance than other



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systems, and Murphy-Brown technicians, veterinarians, truckers and site representatives come

by on a regular basis and micromanage the growers. Murphy-Brown checks as often as every

week on lagoon levels and spray events but never warns the neighbors or gets their consent. This

is despite the fact that Defendant is aware that neighbors live right next to its hogs.

              i.        Ben and Diane Artis.

       31.       Ben and Diane Artis live in their marital home adjacent to one of the Paul

Stanley/Greenwood facilities which houses Murphy-Brown hogs.                  Their property, which

comprises approximately 1.5 acres, is separated from the spray field of the hog facility by only a

shallow ditch.

       32.       Upon information and belief, the hog facility behind their home began housing

Defendant’s hogs in or about 1994. Ever since, their property has at times been overrun by foul

odors created by the waste of Murphy-Brown’s hogs. These odors are unpredictable and at times

make it nearly impossible for them to enjoy being outdoors at their home.

       33.       In addition to the spray field being just beyond their backyard, the driveway for

the facility is fewer than 100 yards from their property, subjecting them to the noises and odors

created by the large hog trucks entering and exiting from the hog facility.

       34.       There is only a ditch and thin row of vegetation separating the Artises from the

facility’s spray field. They can see the facility and the spray field from not only their back and

side yards, but from inside their home looking out of any one of the windows on the entire back

side of their home.

       35.       A number of years ago, a problem at the facility led to a large amount of hog

effluent and fecal matter flooding the ditches surrounding the Artises’ property and running onto

their property. The odor was nearly unbearable. The effluent was eventually pumped from the


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ditches and removed from the property, but the Artises continue to fear that it is only a matter of

time before it will happen again.

       36.      In addition to being a Baptist preacher, Mr. Artis runs a small shrub and flower

business on his property. In order to properly maintain his investment, he spends a great deal of

time outdoors and at times experiences foul odors emanating from the Defendant’s hogs.

Because of these recurring and unpredictable odors, Mrs. Artis spends the vast majority of her

time inside the home.

       37.      Due to the close proximity of this facility and its spray field, the Artises do not

open their windows for any length of time to let in fresh air. The chances are too great that the

foul odors could come into their home. For that reason, their windows generally stay closed

which causes them to run their air conditioning more often than they would if not for the

nuisance created by the Defendant’s hogs which creates a much higher utility bill.

       38.      Over the last several years, Mr. and Mrs. Artis have inhaled periodic foul odors

that came onto the property from the Defendant’s hogs and their waste. Each has frequently

smelled strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes

the odors have been unbearable. The odors have been stronger and fouler than normal smells in

the country and have been more than a petty annoyance.

       39.      Over the last several years, Mr. and Mrs. Artis have been harmed by the episodes

of foul stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to

smell on the property. It has unreasonably interfered with their use and enjoyment of the

property because they must smell a nauseating smell while engaging in normal activities on the

property.




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        40.      The foul odor has affected the ability of Mr. and Mrs. Artis to use and enjoy their

land by limiting their ability to enjoy time in activities outdoors. For example, the foul odors

have kept them from cooking outside. Also, they like to spend time with family relatives

outdoors but their ability to do so enjoyably is injured by the hog odors.

        41.      Because of nuisances such as the odors from the hogs housed at the nearby swine

facilities, the increase in the number of flies, and land-spraying operations to dispose of the

waste generated from Defendant’s hogs, over the last several years, Mr. and Mrs. Artis have each

been limited in when they can open their doors and windows because of the horrible smell and

the flies.

                 ii.    Lucy Sidberry.

        42.      Lucy Sidberry grew up on the family land where she now lives and just a few

doors down from her aunt Annie Jacobs. Residing at 7679 Piney Woods Road, she lives very

close to one of the Paul Stanley/Greenwood facilities.

        43.      Originally, no large hog sites existed in the area. Thus an aerial photo dating

from February 1993 reflects that the Stanley/Greenwood facility is not yet there.

        44.      The site has for years used spray guns to dispose of the hog waste when the site’s

open-air cesspool gets to be too full. For example, an aerial photo dating from October 2010

shows some spraying in progress. An aerial photo dating from October 2014 again shows

spraying in progress. Of all the methods of irrigating with the waste liquid, spraying up into the

air is the most damaging in terms of causing odor, ammonia release and other nuisance. Yet, it is

the cheapest.




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       45.     Ms. Sidberry was mostly raised by her aunt, Ms. Jacobs, so she recalls very well

the time before the hog facilities and their respective spray fields were sited in their rural country

community, so close to their home.

       46.     In the years prior to the hog facility, Ms. Sidberry would regularly raise her

windows when the weather was nice to allow in fresh, cool air. However, due to the recurring

and unpredictable nature of the odors emanating from the Defendant’s hogs, Ms. Sidberry

largely stopped doing this to keep the odor out of her home. This requires her to run her air

conditioning more than she would otherwise, resulting in a significantly higher utility bill. She

used to be able to regularly raise up her windows at night when she slept to keep her home cool.

       47.     Like Ms. Jacobs, Lucy Sidberry is also a member of the New Hope Missionary

Church which is adjacent to the Paul Stanley 7 facility, so she has experienced many an episode

of foul odor not only at her home, but at her church, when Paul Stanley 7 was active. She

regularly attends on Sunday mornings when services are being held and also regularly attends for

Bible study along with occasions such as funerals. Because the church is next to the spray field

for the facility, it has not been unusual for her and others to smell the odors emanating from the

Defendant’s hogs when the site held hogs.

       48.     Over the last several years, Ms. Sidberry has inhaled periodic foul odors that

came onto the property from the Defendant’s hogs and their waste. She has frequently smelled

strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors

have been unbearable. The odors have been stronger and fouler than normal smells in the

country and have been more than a petty annoyance.

       49.     Over the last several years, she has been harmed by the episodes of foul stench.

The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on the



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property. It has unreasonably interfered with her use and enjoyment of the property because she

must smell a nauseating smell while engaging in normal activities on the property.

        50.    The foul odor has affected the ability of Ms. Sidberry to use and enjoy her land by

limiting her ability to enjoy time in activities outdoors. For example, the foul odors have kept

her from cooking outside. Also, the foul smells force her to keep her windows closed and to stay

indoors and to avoid outdoor activities.

        51.    Lucy Sidberry was born in 1948. She spends a lot of her time at her home. The

smells and the flies hurt her enjoyment of her time at home.

        52.    She sees truckloads of hogs going by all the time. The trucks bring the hogs out

and in to the hog farm. The trucks cause a bad odor. It is like they leave a trail of stink by her

home.

        53.    The best way she can describe the smell is that it is a stink. She had even been

able to smell it indoors.

        54.    She has found that the smell can be very bad when they are spraying the waste in

the air onto the fields. She has seen sometimes when the spraying occurs.

        55.    The bad odors hurt her ability to enjoy family gatherings, yard work, outside

playtime with children and grandchildren, and just sitting out to enjoy the weather.

        56.    The flies hurt her ability to have cookouts and to eat outside, because the flies get

all on the food.

        57.    Because of the flies and the bad odors, Ms. Sidberry has to keep the windows

closed a lot of the time, keep the door closed, she cannot air out the house, and she has to buy

products like fly spray and air fresheners.




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       58.       As another example of the impact Defendant has had on the use of her property,

Ms. Sidberry used to dry her clothes using a clothesline in her yard. Ever since she began

smelling the hog odor in her clothes, and having to then re-wash those clothes, she bought an

electric dryer and largely stopped using her clothesline.

       59.       As a recent example of the impactful nature of the odor coming from the

Defendant’s hogs, in early December 2014, Mr. Sidberry was outside decorating her home for

Christmas when one of the large Murphy-Brown hog truck came by her home to turn into the

facility closest to her. The odor coming from Defendant’s truck was so bothersome that she had

to go inside to escape it. This is only one example of the reason Ms. Sidberry spends much less

time outside enjoying her property than she once did, before the Defendant created such a

nuisance.

       60.       Another example is one afternoon recently, Ms. Sidberry and a friend of hers

wanted to cook out, yet the odor from the hogs was so bad, they decided against it and ate inside

to escape the nuisance.

             iii. Leola Jacobs, Gertie Jacobs, and Edna Allison.

       61.       Leola Jacobs, Gertie Jacobs, and Edna Allison are sisters and live on the same

piece of family property on which they all were reared. They inherited this property from their

parents.

       62.       All now retired and having previously worked out-of-state, they have all lived

together on this piece of family land since they all moved home in the early 1990s to care for

their ailing father who died in 1995.

       63.       Each of their lives has been significantly impacted by the unpredictable and

recurring odors created by the Defendant’s hogs. In addition, Defendant’s hog trucks pass by



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their property on a frequent basis, leaving a trail of odor and, at times, effluent on the road. Each

has, at times, gotten behind one of the trucks in their cars and gotten effluent splashed on their

windshields.

       64.     These nuisances have significantly impacted their ability to fully enjoy and use

their property. For example, Gertie Jacobs’ daughter and family live in Winston-Salem. When

they visit Gertie’s home, they typically cannot have cookouts or any type of gathering outside

because of the unpredictable odors.

       65.     Even inside their homes, they take precautions to keep the odors out.               For

example, Leola’s stove has a vent which opens to the outside. When the odors and swarms of

flies are present, she has to close the vent and use air fresheners and deodorizers in her home.

       66.     They keep their windows closed virtually at all times. Even when the odors are

not present, they keep the windows closed because, at any time, the odor could arise and come

into their home. For them, it is not worth taking that risk.

       67.     Over the last several years, each of the sisters has inhaled periodic foul odors that

came onto the property from the Defendant’s hogs and their waste. Each has frequently smelled

strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors

have been unbearable. The odors have been stronger and fouler than normal smells in the

country and have been more than a petty annoyance.

       68.     Over the last several years, each sister has been harmed by the episodes of foul

stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on

the property. It has unreasonably interfered with their use and enjoyment of the property because

they must smell a nauseating smell while engaging in normal activities on the property.




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       69.         The foul odor has affected the ability of each sister to use and enjoy her land by

limiting her ability to enjoy time in activities outdoors. For example, the foul odors have kept

each from cooking outside. Also, they like to spend time with family relatives outdoors but their

ability to do so enjoyably is injured by the hog odors.

       70.         The three sisters are members of the New Hope Community Church which, as

mentioned above, is adjacent to Paul Stanley 7. Services are held every second and fourth

Sunday of each month as well as regular Bible studies, choir rehearsals, and the occasional

funeral and other events. Therefore, in addition to the indignity of the hog odor being present at

times on their property, each of them has been impacted significantly by the odor emanating

from Defendant’s hogs while at church. Having to, at times, live by the odor and, at times,

attend church by the odor has saddened them, but it is their home place and their home church

and they have no intent, nor the financial ability, to leave.

       71.         Around the time the Paul Stanley 7 facility was built – the first of the three

facilities – the church members signed a petition to try to keep the hog farm from being sited so

close to the church. Unfortunately, they were not successful, and the hog farm was built, and it

has been raising Defendant’s hogs and spraying their waste onto the field adjacent to the church.

             iv.          Lenora and Eddie Nicholson.

       72.         Lenora Nicholson resides on Piney Woods Road beside her adult son and fellow

plaintiff, Eddie Nicholson. The Nicholsons came to Piney Woods Road from New York, New

York in the late 1970s and have resided here ever since.

       73.         Although now 81 years old, Ms. Nicholson has recently worked full-time. When

she leaves in the morning or returns in the evening, she at times experiences bouts of odor

emanating from the Defendant’s hogs. In addition, living close to the road which passes by each



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of the three Paul Stanley facilities, the Nicholsons frequently hear, see, and smell large Murphy-

Brown hog trucks passing in front of their home, at times leaving a trail of effluent and odor.

The Nicholsons have each been behind one of these Murphy-Brown trucks and had their

respective vehicles splashed with hog effluent and overrun by the accompanying odors. Both

have had to wash their cars many times after having gotten behind a hog truck of this type.

       74.      The Nicholsons have been significantly affected and bothered by the intermittent

nuisance created by the Defendant’s swine and have employed measures and incurred expenses

to try to protect themselves from the odors, pests, and nuisance created by the Defendant’s hogs.

       75.      Over the last several years, the Nicholsons have inhaled periodic foul odors that

came onto the property from the Defendant’s hogs and their waste. They have frequently

smelled strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes

the odors have been unbearable. The odors have been stronger and fouler than normal smells in

the country and have been more than a petty annoyance.

       76.      Over the last several years, the Nicholsons have been harmed by the episodes of

foul stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to

smell on the property. It has unreasonably interfered with their use and enjoyment of the

property because they must smell a nauseating smell while engaging in normal activities on the

property.

       77.      The foul odor has affected the ability of the Nicholsons to use and enjoy their land

by limiting their ability to enjoy time in activities outdoors. For example, the foul odors have

kept them from cooking outside. Also, they like to spend time with family relatives outdoors but

their ability to do so enjoyably is injured by the hog odors.




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               v.      Joyce and Willie Messick.

        78.    Joyce Messick resides with her brother, Willie Messick, on Piney Woods Road.

Mr. Robinson has lived on this family property since well before the nearby Paul Stanley hog

facilities were constructed. Their mother Donnie Messick lives approximately two miles from

them on the same road near another of the Paul Stanley hog facilities.

        79.    The recurring nuisance created by the Defendant’s hogs has significantly

impacted their use and enjoyment of their property. They enjoy cooking out in their yard on

occasion, however, when the odor is present, they either quickly cook and take their food inside,

or simply cook inside because the odor is so unpleasant.

        80.    Living so close to the facilities and on the same road as the facilities, they are

routinely subjected to the noise and odors created by the passing Murphy-Brown trucks going to

or coming from the Paul Stanley facilities, which at times leave a trail of effluent on the road.

        81.    To minimize the impact of the odors on their property, they keep their windows

closed, run their air conditioning, and use various air sanitizers to keep the odor out of their

home.    Before the facilities’ construction, they enjoyed keeping their windows up during

pleasant weather and allowing in fresh air. They rarely do this anymore due to the unpredictable

and foul nature of the odors.

        82.    The Messicks have been significantly affected and bothered by the intermittent

nuisance created by the Defendant’s swine and have employed measures and incurred expenses

to try to protect themselves from the odors, pests, and nuisance created by the Defendant’s hogs.

        83.    Over the last several years, the Messicks have inhaled periodic foul odors that

came onto the property from the Defendant’s hogs and their waste. They have frequently

smelled strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes



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the odors have been unbearable. The odors have been stronger and fouler than normal smells in

the country and have been more than a petty annoyance.

       84.         Over the last several years, the Messicks have been harmed by the episodes of

foul stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to

smell on the property. It has unreasonably interfered with their use and enjoyment of the

property because they must smell a nauseating smell while engaging in normal activities on the

property.

       85.         The foul odor has affected the ability of the Messicks to use and enjoy their land

by limiting their ability to enjoy time in activities outdoors. For example, the foul odors have

kept them from cooking outside. Also, they like to spend time with family relatives outdoors but

their ability to do so enjoyably is injured by the hog odors.

       86.         Having lived here for many years before the hog facilities were constructed, they

recall very well life on their family property without the burden of the odors and the passing hog

trucks and hope that one day, they can again enjoy their property as they once did.

             vi.          John Taylor.

       87.         John Taylor is the first cousin of the above-mentioned Joyce and Willie Messick

and lives next door to them, also on family property. Mr. Taylor has lived on this property all of

his 65-plus years of life. He inherited this property from his parents and now lives alone.

       88.         Mr. Taylor, like the other plaintiffs, remembers a more peaceable life and

community here before the Defendant’s hogs created such an impactful nuisance. This nuisance

bothers him most when he is outside when the odor is present or a large Murphy-Brown hog

truck passes while he is trying to enjoy some fresh air or cook outside. In addition to the odor




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created by Defendant’s hogs, the presence of flies and gnats on his property has increased

substantially.

        89.      He recalls once recent instance from last summer when a large hog truck passed

in front of his home leaking out hog effluent so badly that it virtually covered one side of the

road in front of his home. Passing cars had to drive in the left lane to bypass the waste that had

leaked into the road. Although the trucks typically cause odor to drift onto his property when

they pass, this time it was particularly foul.

        90.      Mr. Taylor was born in 1949. Mr. Taylor has pancreatic cancer and no longer

works. He therefore spends much more time now at his home than he did while he was working

and thus is impacted more frequently by the nuisance created by the Defendant’s hogs. He has

always been an outdoor person and enjoys being in his yard or sitting on his porch. He used to

regularly cook and eat outdoors on his property but he rarely does his any longer. When the odor

and/or swarms of flies are present or when the large hog trucks pass by hauling Defendant’s

hogs, he is simply unable to enjoy his property like he was prior to the Facilities’ construction.

        91.      Over the last several years, Mr. Taylor has inhaled periodic foul odors that came

onto the property from the Defendant’s hogs and their waste. He has frequently smelled strong,

foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors have

been unbearable. The odors have been stronger and fouler than normal smells in the country and

have been more than a petty annoyance.

        92.      Over the last several years, Mr. Taylor has been harmed by the episodes of foul

stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on

the property. It has unreasonably interfered with his use and enjoyment of the property because

he must smell a nauseating smell while engaging in normal activities on the property.



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       93.          The foul odor has affected the ability of Mr. Taylor to use and enjoy his land by

limiting his ability to enjoy time in activities outdoors. For example, the foul odors have kept

him from cooking outside. Also, he likes to spend time with family relatives outdoors but his

ability to do so enjoyably is injured by the hog odors.

       94.          The best way he can describe the nuisance, is that there is a smell that is bad and

that makes you want to vomit, and also, flies.

       95.          The odors and the flies cause the worst problems when he wants to cook or to eat

outside. The odors can get worse in the warm weather.

       96.          The odors get in the way of family gatherings, barbeques, and chores outside. For

example, if he tries to have a cookout outside, and the smell gets really bad, then they all have to

go inside. Also, the flies get all over the people and on the food. They have to keep the

windows closed and the door closed when that happens.

             vii.          James Jacobs.

       97.          James (“Jimmy”) Jacobs lives directly adjacent to one of the Paul

Stanley/Greenwood facilities. In fact, his home is but a few feet from the driveway of the farm.

He and his late wife built the home in the early 1970s, but he now lives there alone.

       98.          When he and his wife built their home, they were only surrounded by peaceful

farm land, growing tobacco, corn, and other typical crops for the area. Now, with a hog-waste

spray field fewer than 100 yards of his home, he can no longer enjoy his property as he once did.

       99.          Upon information and belief, from time to time the dead hogs from one or more

of the other Paul Stanley facilities were hauled regularly to the facility beside Mr. Jacobs.

Approximately each morning of an early hour, around 5:00-6:00 a.m., a large truck enters and

exits the driveway to pick up the dead hogs. This creates a loud racket that wakes him at times.



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In addition to these “dead trucks” entering and exiting the driveway so close to his home so

often, other trucks also frequently use this driveway as it is the only path to the facility. Photos

reflect use of a “traveling gun” sprayer applying the untreated hog waste to the fields.

       100.    In addition to the odors emanating from the facility and the noise created by the

hog trucks entering and exiting, flies have become a recurring, periodic nuisance. Before the

facility was built and housed Defendant’s hogs, flies were not a problem in the area. Ever since,

they have become a recurring nuisance. Mr. Jacobs says that, at times, if he leaves his door open

for just a few minutes, he will have a house full of flies. Again, this was not an issue with which

Mr. Jacobs had to deal prior to the hog facility and its spray field being sited so close to him.

       101.    Having lived here for more than 20 years prior to the hog facility’s construction,

he knows what life was like on his property before the facility and now after. Before, he and his

wife experienced a much higher quality of life, not subjected to the periodic odors, flies, and

noise coming from the Defendant’s hogs and trucks. Now, however, he never knows when he

walks out the door if the odor will be there or if a swarm of flies will be present.

       102.    Over the last several years, Mr. Jacobs has inhaled periodic foul odors that came

onto the property from the Defendant’s hogs and their waste. He has frequently smelled strong,

foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors have

been unbearable. The odors have been stronger and fouler than normal smells in the country and

have been more than a petty annoyance.

       103.    Over the last several years, Mr. Jacobs has been harmed by the episodes of foul

stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on

the property. It has unreasonably interfered with his use and enjoyment of the property because

he must smell a nauseating smell while engaging in normal activities on the property.



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       104.    The foul odor has affected the ability of Mr. Jacobs to use and enjoy his land by

limiting his ability to enjoy time in activities outdoors. For example, the foul odors have kept

him from cooking outside. Also, he likes to spend time with family relatives outdoors but his

ability to do so enjoyably is injured by the hog odors.

           viii.       Jimmy Carr.

       105.    Jimmy Carr lives next door to plaintiff Jimmy Jacobs and is also extremely close

to one of the Paul Stanley/Greenwood hog facilities.

       106.    Now over 50 years old, he grew up on Piney Woods Road about a half-mile from

where he currently lives, but moved to his current home prior to the Paul Stanley facility being

constructed.

       107.    Like Mr. Jacobs, he lives very close to this facility and even closer to its driveway

and spray field. Every morning, around approximately 5:30 a.m., a large truck enters the

driveway and drives past his and Mr. Jacob’s home to pick up dead hogs from the Paul Stanley

facilities. This large truck driving down a dirt and gravel driveway creates a lot of noise, at times

waking Mr. Carr, and leaves a trail of odor from the dead Murphy-Brown hogs. In addition to

these “dead trucks,” large Murphy-Brown tractor trailers haul hogs in and out of the facility,

creating additional nuisance.

       108.    Due to the recurring odor and other nuisances created by the Defendant’s hogs,

Mr. Carr almost never raises his windows.         Prior to the farm being sited here, he would

frequently raise his windows at night to let in fresh air when the weather was appropriate. Now,

he no longer does that because of the risk of the odor drifting his way and into his home.

       109.    Having grown up in this small community, he remembers when the area was

unburdened by the presence of so many of Defendant’s hogs. Having three children, he hopes to



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one day leave his property to them and that, by then, the nuisance created by Defendant’s hogs

will have been abated.

       110.       Over the last several years, Mr. Carr has inhaled periodic foul odors that came

onto the property from the Defendant’s hogs and their waste. He has frequently smelled strong,

foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors have

been unbearable. The odors have been stronger and fouler than normal smells in the country and

have been more than a petty annoyance.

       111.       Over the last several years, Mr. Carr has been harmed by the episodes of foul

stench. The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on

the property. It has unreasonably interfered with his use and enjoyment of the property because

he must smell a nauseating smell while engaging in normal activities on the property.

       112.       The foul odor has affected the ability of Mr. Carr to use and enjoy his land by

limiting his ability to enjoy time in activities outdoors. For example, the foul odors have kept

him from cooking outside. Also, he likes to spend time with family relatives outdoors but his

ability to do so enjoyably is injured by the hog odors.

            ix.          Phyllis Wright.

       113.       Phyllis Wright lives very close to one of the Paul Stanley/Greenwood facilities

and even closer to its entrance and spray fields where the waste created by Defendant’s hogs are

sprayed.

       114.       She has owned her current home since the early 1980s and has experienced a

recurring and foul odor coming from the Defendant’s hogs at the Paul Stanley/Greenwood

facilities. In addition, she often hears, sees, and smells the “dead truck” as it enters and exits the

facility almost every morning to remove the dead hogs from the Paul Stanley facilities.



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       115.    At times, when she leaves for work or church, and returns from either, she

experiences a bout of odor coming from the Defendant’s hogs. This bothers her tremendously

and is not something she had to endure prior to the facility’s construction. Moreover, she can no

longer hang clothes on the clothesline due to the unpredictability of the odor from the facility. In

earlier years when she hung clothes out to dry, they would absorb the odor and would have to be

rewashed, so she no longer hangs them out to dry.

       116.    She no longer opens her windows, either, to let in fresh air. If the odor were to

drift onto her property while her windows were open, the odor would come into her home, so she

simply keeps her windows and doors closed and uses air fresheners and other deodorizers to

ensure the odor is kept out of her home.

       117.    Over the last several years, Ms. Wright has inhaled periodic foul odors that came

onto the property from the Defendant’s hogs and their waste. She has frequently smelled strong,

foul odors of hogs. The smells get worse when the weather is hot. Sometimes the odors have

been unbearable. The odors have been stronger and fouler than normal smells in the country and

have been more than a petty annoyance.

       118.    Over the last several years, she has been harmed by the episodes of foul stench.

The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on the

property. It has unreasonably interfered with his use and enjoyment of the property because he

must smell a nauseating smell while engaging in normal activities on the property.

       119.    The foul odor has affected the ability of Ms. Wright to use and enjoy his land by

limiting her ability to enjoy time in activities outdoors. For example, the foul odors have kept

her from cooking outside. Also, she likes to spend time with family relatives outdoors but her

ability to do so enjoyably is injured by the hog odors.



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            x. Lenora and James Holmes.

        120.    James Holmes built his and his wife’s (Lenora Holmes) current home in the

1970s on land which he inherited from his parents and has lived there ever since. Their home is

located fewer than 200 yards from one of the Paul Stanley/Greenwood facilities on Piney Woods

Road.

        121.    Each of them is regularly and significantly impacted by the recurring foul odor

emanating from the Defendant’s hogs and their waste which is sprayed very close to their home.

        122.    Mr. Holmes was born in 1939 and is in his 70s. His wife was born in 1947. In

his retirement Mr. Holmes spends a great deal of time at home, where the nuisance and the foul

odors frequently affect him.

        123.    Mr. Holmes works often in their yard and at times smells the foul odors coming

from the Defendant’s hogs.

        124.    Ms. Holmes, although she has been battling Parkinson’s Disease for a number of

years, is still able to walk for exercise once in a while.

        125.    Because they live so close to the facility, she has little choice but to walk near it,

and has been, at times, greatly bothered by the same foul odors coming from the Defendant’s

hogs.

        126.    Mr. and Mrs. Holmes now avoid raising their windows because, in the past, when

they have, odors from the facility have come into their home, which is extremely unpleasant for

them. To minimize the impact of the odor on their home, they utilize various air fresheners and

deodorizers and run their air conditioning more frequently which raises their utility bill. More

specifically, they used to enjoy leaving their windows open at night to let in fresh air while they

slept on pleasant evenings. Due to the recurring odors coming from the hogs, however, they no



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longer leave their windows open while they sleep and instead must run their air conditioning or

heat.

        127.   Mr. and Mrs. Holmes are both embarrassed by the odor when guests come to

visit. For example, shortly after Thanksgiving 2014, Mr. Holmes’s stepson visited them for the

weekend. His stepson grew up on this property, but graduated from high school and enlisted in

the U.S. Navy around the time the Paul Stanley facility was built, so he never had to live so close

to the Defendant’s hogs. When he visited them recently, he commented to Mr. and Mrs. Holmes

about the odor and how bad it was, which embarrassed them. They have had other guests on

their property comment about the smell, as well, which is very unpleasant for them.

        128.   Before the odor began recurrently drifting onto their property, the Holmeses

would regularly enjoy their yard having barbeques and sitting on their front porch enjoying nice

weather. Rarely do they do either any longer because of the recurring odors and swarms of flies

and gnats on their property due to the Defendant’s hogs.

        129.   Over the last several years, Mr. and Mrs. Holmes have inhaled periodic foul odors

that came onto the property from the Defendant’s hogs and their waste. Each has frequently

smelled strong, foul odors of hogs. The smells get worse when the weather is hot. Sometimes

the odors have been unbearable. The odors have been stronger and fouler than normal smells in

the country and have been more than a petty annoyance.

        130.   The best way that they can describe the odors is that they are pretty rough, they

can get to be nauseating, and they can cause headaches.

        131.   Over the last several years, they have been harmed by the episodes of foul stench.

The odor itself has been ugly and unpleasant and nauseating and unenjoyable to smell on the




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property. It has unreasonably interfered with their use and enjoyment of the property because

they must smell a nauseating smell while engaging in normal activities on the property.

       132.    The foul odor has affected the ability of Mr. and Mrs. Holmes to use and enjoy

their land by limiting their ability to enjoy time in activities outdoors. For example, the foul

odors have kept them from cooking outside. Also, they like to spend time with family relatives

outdoors but their ability to do so enjoyably is injured by the hog odors.

       133.    They have also been harmed by episodes of flies. The flies come from the hogs

and go onto their land and into their home. The best way they can describe the flies is that they

can be horrible.

       134.    Because of the flies and the fumes, they have been hurt in their ability to have

family gatherings, and barbeques.

       135.    They have seen the waste being applied to the fields near the hogs.

       136.    They would like to pass their land down to their children.

       B. Background on the Facilities.

       137.    Upon information and belief, the three facilities (Paul Stanley 5/now

Greenwood 1, Paul Stanley 6/now Greenwood 2, and Paul Stanley 7) are or during pertinent

times were “contract” facilities for the Defendant. During some or all pertinent time, Defendant

has housed swine at Paul Stanley 5-7 and Greenwood 1-2. The site under Permit AWS 710090,

Paul Stanley 5 (now Greenwood 1), can house 3,672 swine. The site under Permit AWS 710017,

Paul Stanley 6 (Greenwood 2), can house 3,672 swine. The site under Permit AWS 710043,

Paul Stanley 7, can if operational house 1,800 swine. Over time the contract growers for Paul

Stanley 5-6 (Greenwood 1-2) and Paul Stanley 7 are or have been Pagle Corp. or Greenwood

Livestock LLC. Upon information and belief, these facilities were originally owned by Gary



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Pridgen, who owned them until 2012 when Pagle Corp. purchased them. More recently, two of

the facilities was acquired by Greenwood Livestock LLC. Throughout the years, each of these

farms have had compliance issues with land application or spraying of the hog waste. On several

occasions, the facilities have oversprayed hog effluent onto the fields causing ponding and even

runoff into ditches which connect to some of the Plaintiffs’ property.

       138.    While DENR can only inspect the facilities on an annual basis, and does not go in

the hog sheds, the Defendant inspects or visits the facilities much more frequently and has open

access to the entire site. Upon information and belief, a representative or employee of Defendant

visits each site on a weekly basis or, in some cases, more frequently and the site personnel must

constantly report information to Defendant.

       139.    The Stanley No. 6 facility has had past issues with ponding in the spray fields. In

2011, for example, per DENR records, there were incidents of “ponding in spray fields,”

“ponding waste for more than 4 hours” and “incorrect application.” Overhead photos of the

facility fields from 2011 likewise appear to show standing water.

       140.    Likewise, the Stanley 7 facility has had wastewater problems. In March 2014, a

neighbor of the facility described seeing pink-tinted sludge or water in a nearby ditch that had a

foul smell. In 2011, the DENR records spoke of “runoff issues.” Overhead photos reflect recent

spraying, soggy land as well as lagoons with different colors and with visible build-up on the

surface and at the edges.

       C.      Background on Hog Manure and Causes of Nuisance.

       141.    Hogs generate multiple times more feces and urine per day than a human being.

The General Accounting Office has estimated that 7.5 million hogs in five eastern NC counties

produce 15.5 million tons of manure each year.



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       142.    Furthermore, Defendant's diet and antibiotic regimen is meant to promote

aggressive growth, causing more manure to be generated in less time.

       143.    A hog may grow from birth to 250 pounds in about six months or less before it is

slaughtered. A piglet usually feeds from its mother until it is four to six weeks old and weighs

about 25 or 30 pounds. Then it eats feed grain and is known as a feeder pig. It takes about six

months for a pig to reach market weight of 250 pounds. A slaughter-weight hog is thus about

fifty percent heavier than an average person.

       144.    The hog odors can be smelled at extremely low concentrations that cannot be

measured with available instruments.

       145.     Dietary manipulation can reduce odor. Defendant supplies all the feed and sets

the ingredients and additives for its hogs. On information and belief, Defendant has tailored the

diet without regard to reducing the odor and nuisance.

       146.    The presence of Defendant’s hogs also causes periodic swarms of flies and other

insects and pests. Plaintiffs find that flies periodically come onto Plaintiffs’ properties. These

flies were not prevalent before the thousands of hogs were placed at the CAFO. These insects

and pests are also scientifically found to be vectors for disease and germs.

       147.    In addition, ever since the hogs have been built, large trucks periodically crawl up

and down the streets with hogs and feed. They cause noise, dust, and lights from headlights and

they pass even in the middle of the night. When the trucks bring hogs in and out this can create

extra odor. When the “dead trucks” come, they can create foul odor and leak foul substances.

These trucks are the opposite of what one would expect to see in a rural country neighborhood.

       148.    The dead hogs themselves are a nuisance. Animals in confinement under high-

density circumstances present a ready environment for disease. Many swine facilities have used



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vaccines and antibiotics not only to promote growth but also to counteract the health effects of

crowded conditions but the crowded often hot conditions still lead to significant mortality rates.

The pigs are susceptible to infection, microbes, parasites, or fungi,

       149.    The mortality rates from the CAFOs as well as periodic diseases such as Porcine

Epidemic Diarrhea Virus (PEDV) result in there being many dead hogs from time to time placed

in “dead boxes.” These are dumpsters full of dead animals left out in the open, often in plain

view, so that neighbors see rotting animal corpses in their neighborhoods. These “dead boxes”

attract buzzards, flies and vermin. Periodically a “dead truck” picks up the dead hogs to drive

them to a rendering plant. This increases the nuisance to the neighbors.

        D.     Defendant’s Control Over its Hogs.

       150.    Defendant is a large and sophisticated company and precisely monitors the

activities occurring at the facilities holding its hogs. Defendant, through standardized procedures

and equipment, monitors the number of hogs at each site, the amount of feed used, the growth

rate, the amount of feces and urine going into the cesspools, and the “freeboard”, i.e., the

distance between the surface of the cesspool and the top of the earthen rim surrounding it.

       151.    Defendant has publicized in the past how it exercises detailed control over the

operations of the facilities that hold its hogs. Defendant uses trucks to haul its hogs from one site

to another depending on what is most efficient and profitable for Defendant. Defendant has also

used tanker trucks to haul manure and flush water from one lagoon to another at different sites

for reasons including when the volume that is being generated threatens to flood a lagoon.

       152.    Murphy-Brown was formed in 2000 from an acquisition by Smithfield of

companies owned by Wendell Murphy, Sr. (the founder of the business), the Murphy family, and

Murphy businesses including Murphy Family Farms (collectively “Murphy”), as well as



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Brown’s of Carolina. Mr. Murphy is credited with adopting the CAFO design of mechanized

farms that had first been invented for raising poultry in other states. However, hogs generate a

great deal of manure, and North Carolina is more densely populated than many other states.

Defendant and its predecessor’s efforts and Smithfield’s opening of massive processing plants

increased the number of hogs until counties like Duplin and Sampson became the most densely-

packed hog counties in the entire United States, as studies reflect.

       153.    Overhead views reflecting the relative locations of the Plaintiffs’ homes and the

hogs show how the hogs are densely packed in at several sites around them.

       154.    The close confinement of hogs also means epidemics can spread through hog

populations and diseases, such as Porcine Epidemic Diarrhea Virus, have led to “PED” signs

outside facility gates at various times. Studies reflect how the closely packed hogs and untreated

sewage cause illnesses such as MRSA, release germs and bacteria into the environment, and

causes hydrogen sulfide, ammonia and other harmful substances to spread. Hydrogen sulfide

was used as a poison gas in World War I and can cause harm even at low doses. Ammonia can

cause respiratory and other illnesses. Both are released from untreated hog sewage.

       155.    Studies have linked hog CAFOs to childhood asthma and other conditions. All of

this creates a reasonable fear of health effects in the Plaintiffs. While Defendant causes odors,

harmful chemicals and other nuisance to go onto Plaintiff’s properties, Defendant pays them no

license fee to do so and maximizes profit by making Plaintiffs absorb the environmental cost that

Defendant should bear.

       156.    Recognizing the unsustainable and injurious nature of the “lagoon and sprayfield”

system, North Carolina, in 1997, banned further construction of CAFOs that use the design. This

ban was re-enacted in 2007. Under this “moratorium,” in fact hog producers are free to build



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new facilities so long as, among other things, they will not cause odor to cross onto neighboring

land. On information and belief, no new CAFOs have been built using the old design, in an

admission of its nuisance-causing nature.

       157.    The 1997 moratorium was enacted only after CAFO construction began to

threaten the Pinehurst golf course. The bill was sponsored by North Carolina State House

Representative Richard Morgan who was reported to describe his concern “about industrial-style

hog farms cropping up near golf courses in Moore County” and that his aim was to “draw a

distinction between farming and the mass production of swine.” Indeed, the CAFOs are not

traditional family farms by any measure and rather are animal factories.

       158.    Under the “lagoon and spray” design, hogs step, sit, and lie on the raw manure

and it gets on their bodies closely packed in the sheds. The hogs squish and push it down

through the slatted floor. It drips into a holding pond below the floor where it sits like an

unflushed toilet and the urine and feces mix. Some sites use a method of periodically flushing

the waste out with water, while others use a “pull-plug” system in which the waste is periodically

drained. Large fans at the ends of the sheds ventilate to keep the hogs from suffocating on the

gases. The hogs create dust that dries and turns into floating particles, and smells from the feces

and urine goes into the air and is blown out by the fans. The fans have no filters or scrubbers to

take out the fumes and germs.

       159.    After manure collects under the slatted floors, it gets flushed or drained out

through pipes into the nearby open-air, uncovered, artificial cesspool filled with millions of

gallons of hog urine, feces, and flush water. Because the cesspool is uncovered, it is free to

evaporate bad odors into the air. There is no effort to separate out solids from liquids or treat the

waste in a contained digester. There is no effort to capture the methane and odorous gases or use



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it as biogas for electricity. Defendant refuses to reduce the crowded hog counts while aware that

more hogs means more waste means more nuisance.

       160.    The manure fills the “lagoons” and is spread on the fields. Often this is done by a

“traveling gun” system in which liquid is sprayed up into the air. Other times, a “center-pivot”

system is used, which ejects it into the air by means of pressurized spraying. The use of

subsurface injection or “knifing” the effluent into the ground can help reduce odor. In other

States Defendant as abandoned spray guns but not here.

       161.    In 2000, due to widespread concerns about lagoon and spray CAFO

environmental harm, damage, vulnerability to hurricanes, odor and other ill effects, North

Carolina commissioned a multi-year study known as the “Smithfield Agreement.” This

agreement allocated funds for research into superior alternatives to the lagoon and spray system.

Various candidate technologies were reviewed for feasibility. In 2003, under the Agreement, the

non-partisan RTI institute issued a report regarding the nuisance and other bad impacts of the

lagoon-and-sprayfield CAFOs. The report found that the sites have a negative impact on

“measures of human well-being.” It found: “Odor emissions from hog farms are a continuing

concern in North Carolina, particularly for residents living in close proximity to farms.” It noted

how “using data on housing prices in nine counties in southeastern North Carolina … found that

proximity to hog farms had a significantly negative impact on housing values and that these

effects varied by the size of the operation.” Finally it noted “disease-transmitting vectors.”

       162.    In December 2005, a majority of the ten members of the economics subcommittee

under the Smithfield Agreement found that “the range of benefits predicted to flow” from new

technology appeared to justify increased costs. By contrast, a minority of the members insisted

that any new technology that “raises the net cost of production in North Carolina is not



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economically feasible.” The minority report was signed by Bart Ellis of Smithfield Foods, Inc.,

Dave Townsend of Premium Standard Farms (acquired by Smithfield), Bundy Lane of Frontline

Farmers (a group supported by Murphy), Richard Eason, President, Cape Fear Farm Credit (a

company that upon information and belief benefited from CAFO construction loans set up by

Smithfield), and Dennis Dipietre, Economic Advisor, Premium Standard Farms (later acquired

by Smithfield). Because of the staunch opposition of these Smithfield-aligned representatives,

the Smithfield Agreement ultimately failed to lead to the adoption of new control technologies

for the swine CAFOs in North Carolina.

       163.    Meanwhile, in States such as Missouri and Colorado, hog CAFOs have adopted

controls to abate the nuisance and stop the harm to the neighbors. Defendant has hog sites in

those States and has implemented control measures there.

       164.    Defendant is a multi-state corporation, wholly-owned by an even larger

multinational corporation which itself is owned by Shuanghui, now WH Group after an

acquisition valued at more than $7 billion. The Smithfield integrated annual report for 2012

describes how Defendant is “the world’s largest producer of pork” and fiscal 2012 sales were

$3.1 billion. Defendant is much larger than and earns far greater revenues and profits from the

hog operations than the local growers.

       165.    In one “integrated” enterprise, Smithfield owns the hogs through its hog

production division, owns the processing plants through its Smithfield Packing subsidiary, and

controls other aspects of the pork production process. The relationship between Defendant and

its contract growers is part of “vertical integration” in which Defendant is the “integrator.”

       166.    Smithfield has touted how “Smithfield manages every aspect of the pork

production process. Vertical integration is a key point of difference and a unique selling



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proposition for our products and brands, allowing us to drive changes through the supply chain.”

Murphy-Brown micromanages and controls the local growers, but has not abated the nuisance.

       167.    The growers must follow the orders and rules from Defendant or risk losing the

hogs, which they never even own. The 2012 annual report describes how “All company-owned

and contract farms are subject to random third-party audits and site assessments” and how

“Members of our production management staff … visit every contract and company-owned farm

at least once a month.” Defendant constantly sends specialists to the site such as engineers,

technicians, inspectors, and veterinarians and controls relevant details of operation.

       168.    As of 1995, it was reported that a typical contract grower borrowed anywhere

from $200,000 to $1 million to construct hog sheds. Murphy specified the CAFO design and

equipment. Murphy financed or facilitated the financing for many growers. While the grower

carried the debt for a multi-year loan term, under the form contracts, Murphy could pull its hogs

out at any time for a variety of reasons. The CAFOs are “single use” facilities designed for

raising hogs and no other purpose. Wendell Murphy, Sr. has described the situation with words

to the effect of “once you pour the concrete, you are committed.”

       169.    Mr. Murphy and his family businesses continue to this day to be heavily involved

with Smithfield. According to a Smithfield Foods Form 10-KT/A filed April 28, 2014, the

current Smithfield Board of Directors consists of “Long Wan” (more commonly known in the

media as Wan Long; Chairman of the Board since September 26, 2013 and Chairman of the

Board of WH Group/Shuanghui), Larry Pope, Shuge Jiao and Zhijun Yang. Wendell Murphy,

Sr. was until recently also a Smithfield Director and continues to be heavily involved with the

company via his family business. The Form 10-KT/A states that Smithfield and Murphy-Brown

continue to have business relationships with entities owned in whole or part by Mr. Murphy and



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his family members and for fiscal 2013, Smithfield paid $23.1 million to those entities.

According to reported corporate filings, in 2004, various Smithfield transactions with the family

of Mr. Murphy added up to around $41 million. By 2012, corporate filings reflected

approximately $52 million of transactions with business interests controlled by the Murphy

family, including a $23.3 million payment to DM Farms of Rose Hill, LLC, 100% owned by

Murphy’s son, Wendell H. “Dell” Murphy Jr.

       170.    Over the years Murphy has required some or all growers to accept terms under

which if a grower fell into some lower percentage of all the growers on various metrics, such as

the lowest 25%, Murphy could cancel the contract. These provisions incentivize the contract

growers to work to maximize growth of the hogs at the expense of all other considerations.

Meanwhile, at all times Defendant still owns the hogs. This system sometimes known as the

“tournament” system pits contract growers against each other to cut costs and raise productivity

above all other considerations. The system is palpably unreasonable as there will always be a

bottom fourth of growers even if they all perform well. On information and belief, the metrics

Defendant uses to rank the growers do not include such things as, whether the odors, flies and

fumes are harming the neighbors. Defendant during the pertinent times has known that its

“tournament” system and other aspects of its management of the growers, the feed and the hogs

causes the nuisance to increase.

       171.    Murphy has admitted the control it has over the hog CAFOs and its direct

involvement in the swine sites. In 2011, Wendell Murphy, Sr. described that “The typical

livestock or poultry agreement is that the farmer or contract producer provide the facilities and

labor, but in this case, to enhance the idea, to cause more people to come forward, we agreed to

supply their materials... the fence and the posts, the feeders, everything.” However in grower



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bankruptcy proceedings Murphy-Brown has also contended that it had no duty to keep pigs at the

site if it wanted to remove them for a variety of reasons.

       172.    Smithfield controls an estimated 90 percent of all hog production in North

Carolina. Defendant owns the hogs at as many as two-thirds of all North Carolina sites. State

records confirm Defendant’s control over the hogs and the odors and nuisance that they cause.

On multiple occasions, when a grower has encountered problems, Defendant has intervened to

contest any efforts to impose fines or require changes, and has closely controlled and supervised

any corrections.

       173.    Wan Long is now Smithfield’s Chairman of its Board of Directors. Mr. Long has

is also the Chairman and CEO of Shuanghui.

       174.    Shuanghui recently changed its formal English-language name to “WH Group.”

       175.    Shuanghui has announced that its top priority is to increase exports to China and

on information and belief Smithfield pork is already sold there.   Its Chairman and CEO Wan

Long states: “Following our acquisition of Smithfield in 2013 we will focus on growth

initiatives, such as increasing exports from the United States to Asia, building a global trading

platform and exploring opportunities to work with Smithfield to develop premium products for

the Chinese market.”

       176.    Larry Pope in testimony to Congress in 2013 stated that “[t]he new combined

company expects to meet the growing demand for pork in China by exporting high-quality pork

products from the US. This means more production for US producers….” He also stated that

“China is responsible for 50 percent of the world’s pork consumption and their demand is still

growing…. At Smithfield, we see this valuable market as an undeniable opportunity to grow our




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business and produce more here in the US.” He also stated that “This transaction is about

exporting high-quality meat products from the US to China.”

       177.    More recently, in 2014 Mr. Pope described: “Half of all the world’s pork is eaten

in that one country [i.e., China] and growing, and growing steadily. Every two or three years,

China’s consumption demand grows by the whole size of the U.S. market.”

       178.    In short, it is clear that Defendant following the directives of its owners intends to

increase pork production for export. North Carolina produces more hogs for Smithfield than

most or all other States. Clearly a massive increase in exports is foreseen as Shuanghui paid

30% more than market value for Smithfield’s stock. An increase in pork production in North

Carolina, in which Smithfield controls upwards of 90% of hog production, will greatly increase

the nuisance to the Plaintiffs.

       179.    Furthermore, the economic opportunity to increase exports to China increases the

reasonability of expecting Defendant to abate the nuisance herein.

        E.     Evidence of Negligent, Willful and Wanton Conduct.

       180.    Defendant and its predecessors, in placing tens of thousands of hogs at the

facilities, acted negligently and in willful disregard of the harm known to be caused by the hogs.

Over the years, Defendant has continued to cause its hogs to create nuisance and injury without

taking action to end the nuisance despite repeated episodes of damage and mounting scientific

research verifying the harm suffered by the Plaintiffs.

       181.    The 2012 Smithfield annual report claims that “Murphy-Brown is committed to

… protecting the environment…” However, the studies, reports, incidents and complaints that

have amassed since Murphy first started the CAFO system clearly show predictable nuisance




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caused by swine sites to nearby neighbors. Defendant has not stopped the nuisance, even after

Plaintiffs have complained and even sent nuisance mediation demands over a year ago.

       182.    From the early 1990s to the present, due chiefly to Defendant and its

predecessors’ efforts, hog production greatly expanded and CAFOs were placed near community

members such as the Plaintiffs. Production in North Carolina tripled between 1990 and 1995,

growing from 5 million hogs produced in 1990 to 15 million in 1995. The hogs at the subject

facilities were part of this rapid expansion. Multiple spills, lagoon breaches, episodes of odor

and harm have occurred. Numerous reports have confirmed the injury suffered by community

members. The Legislature has banned any new CAFOs using the Defendant’s old system due to

the indisputable evidence of harm and damage to neighbors and the environment.

       183.    Defendant and its predecessors have acted improperly during prior incidents

caused by the CAFOs. As an example, on May 8, 1991, a 10-acre feces and urine cesspool

ruptured on Murphy's Magnolia No. 1 facility in Duplin County. After the lagoon collapsed,

tons of water flowed into Millers Creek. According to news reports, Wendell Murphy, Sr. knew

about the incident within hours and personally visited the site. It took four days to find and patch

the leak. But Murphy never notified the State about the spill.

       184.    Mr. Murphy in a news article dated February 19, 1995 stated there was “not one

shred, not one piece of evidence anywhere in this nation” that hog lagoons were harming the

groundwater.” In fact, hog CAFOs do harm the groundwater. Studies have reviewed lagoons in

the coastal plain of North Carolina and found seepage losses to the surficial aquifer.

       185.    Mr. Murphy as reported on February 24, 1995 represented that CAFOs increased

property values: “Wendell Murphy, founder and chairman of Murphy Family Farms, rejects

claims that hog farms devalue nearby property. In fact, he says the opposite is true: ‘Property



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values have gone up, and I mean seriously gone up, as a result of this industry being here.’ … ‘If

somebody has property near us and they say their property is worth less and they have to leave --

tell us about it. We'll buy it.’” Those statements were inaccurate. Numerous studies have shown

that swine sites hurt property values. According to subsequent news reports, when one or more

CAFO neighbors later sought to take Mr. Murphy up on his offer to buy their properties, Mr.

Murphy backed out and refused to do so.

       186.    In August of 1997, Smithfield was fined $12.6 million for violating the U.S.

Clean Water Act. This was reported to be the largest fine ever imposed under the Clean Water

Act. Smithfield was found to be dumping into the Pagan River, a tributary flowing into the

Chesapeake Bay. The company's failures resulted in more than 5,000 violations of permit limits

over five years. These violations caused harm to the water quality of the Pagan River, the James

River, and the Chesapeake Bay. Further, the Courts found that the company had falsified

documents and destroyed water quality records.

       187.    In April 1999, a spill at Vestal Farms, owned by Murphy, dumped over a million

gallons of water in Duplin County. Murphy and the NC Pork Council claimed the spill was

caused by vandals. The State found zero evidence to back up Murphy’s claim. In fact there was

vegetation growing near the lagoon, tree roots weakened the wall, and there were erosion issues.

Murphy had been warned to clear the trees. The State concluded that excessive seepage through

the dike wall was the probable cause. Nearly two million gallons spilled into a tributary of the

Northeast Cape Fear River. Murphy was fined $40,650.

       188.    In September 1999, Hurricane Floyd caused flooding in Eastern North Carolina.

Many hog farms flooded and thousands of dead pigs floated to nearby areas. This hurricane and

other rain events have caused flooding from hog facilities and highlighted the vulnerabilities in



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our state. However in 2011, Wendell Murphy, Sr. stated the harm caused by the hog facilities in

the hurricane was “minimal.”

       189.    Murphy has added special controls at sites in other states and has publically

admitted that it was to “reduce the level of odor produced by the farms.” Defendant has added

controls at some sites in North Carolina such as the Mitchell Norris facility in Bladen County

due to odor and has installed a partial lagoon cover at Kenansville Farm in Duplin County “to

respond to odor complaints from neighbors.” Defendant is aware that the hog sites cause odor

and nuisance, but willfully refuses to install improvements where its hogs are stored herein.

       190.    In contrast to Defendant’s assertions that its hogs do not cause nuisance or injury,

numerous scientific reports and studies have found that they do. These reports show that

Defendant has actual knowledge of the nuisance caused by its swine, or is willfully blind to that

fact. They also support the fact that the Plaintiffs suffer adverse effects from the odors such as

nausea, congestion, wheezing and difficulty breathing, loss of enjoyment, and have reasonable

fears regarding the effect of the nuisance upon them and their families, including young children

or grandchildren, elderly and disabled family members, and other loved ones.

       191.    Because Murphy recklessly failed to perform proper studies to determine the

harmful effects of the swine CAFOs before building them in the 1980s-early 90s, scholars were

obligated to work to assess the health risks after the fact.        Numerous studies have now

documented the injuries and harms and the nuisance caused by hog CAFOs.

       192.    Defendant knew from those studies, its own experience, from neighbor

complaints, from lawsuits, governmental enforcement actions, consent orders and verdicts

against it, in multiple states, that hog urine and feces causes a nuisance to neighbors, hog

emissions contain disease-causing pathogens and chemicals, and this is harmful to humans.



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Defendant’s ongoing failure to take reasonable steps to abate the nuisance caused by its hogs

reflects willful and wanton conduct under the circumstances. After over than 20 years of a

moratorium on new construction of harmful lagoon and spray facilities, Defendant still sends its

hogs to such facilities under a one-sided contract grower system designed to maximize integrator

profit without abating the nuisance.

                   COUNT I: RECURRING, TEMPORARY, ABATABLE,
                               PRIVATE NUISANCE

        193.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs, as if fully set forth herein.

        194.    Plaintiffs, and each of them, are, or during some or all of the pertinent times were,

in lawful possession of their properties, and used them, or had the right to use them, as

residences or for other legitimate uses.

        195.    Defendant, during the pertinent times, owned and materially controlled the hogs

in close proximity to Plaintiffs’ properties so as to cause a private nuisance.

        196.    Plaintiffs’ right to use and enjoy their properties has been impaired by recurring

foul and offensive odors; hog manure and urine; flies or other insects; buzzards or other

scavenger animals; vectors of disease; trucks that cause noise and lights at night and foul smells;

dead hogs; and other sources of nuisance.

        197.    The nuisance periodically caused by Defendant’s swine has substantially impaired

Plaintiffs’ use and enjoyment of their property, and has caused anger, embarrassment,

discomfort, annoyance, inconvenience, decreased quality of life, deprivation of opportunity to

continue to develop properties, physical and mental discomfort, and reasonable fear of disease

and adverse health effects.




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       198.    Defendant has engaged in improper or negligent operation of swine sites during

some or all of the pertinent times, causing harm to the Plaintiffs.

       199.    Defendant’s conduct has been unreasonable.             Reasonable persons, generally,

looking at Defendant’s conduct, the problems caused by it, the character of the neighborhood,

the nature, utility and social value of the use of land, and the extent, nature, and recurrent nature

of the harm to Plaintiffs’ interests, would consider Defendant’s conduct to be unreasonable.

       200.    The invasions, harms and injuries complained of herein by Plaintiffs are more

than slight inconveniences or petty annoyances, but rather substantial invasions, harms, and

injuries to Plaintiffs’ comfort, property, and use of their land.

       201.    Defendant had actual knowledge during some or all of the pertinent times that the

subject hogs were causing a nuisance.

       202.    Defendant knew or should have known that foul and offensive odors, hog manure

and urine, flies and other insects, and other causes of nuisance from their hogs would recurrently

encroach upon and invade Plaintiffs’ properties, and substantially impair Plaintiffs’ use and

enjoyment of their properties.

       203.    While knowing that practicable technologies and methods are readily available to

abate the nuisances and problems, Defendant has failed to abate the foul and offensive odors and

other causes of nuisance.

       204.    During the pertinent times, the level of control that Defendant exercised over

relevant aspects of the hogs and facility operations rose to such a level that Defendant stood in a

principal-agent relationship with the facility owners and is vicariously liable for their conduct in

operating the facility in a manner which caused a nuisance to the Plaintiffs.




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        205.    Alternatively, during the pertinent times, Defendant’s own direct involvement in

material aspects of the operation of the facilities and management of the hogs renders Defendant

independently liable for the nuisance with regard to the Plaintiffs.

        206.    Alternatively, during the pertinent times, Defendant employed contract growers to

do work which Defendant knew or had reason to know would likely involve the creation of a

nuisance, and is therefore subject to liability for harm resulting to Plaintiffs.

        207.    Defendant’s conduct described above constitutes a series of recurring temporary

abatable private nuisances, which Defendant has failed to remedy within a reasonable period of

time, and for which Defendant is liable.

        208.    As a result of Defendant’s liability for private temporary recurring abatable

nuisance, Plaintiffs are entitled to compensatory damages in an amount to be determined at trial.

                                 COUNT II: PUNITIVE DAMAGES

        209.    Plaintiffs incorporate by reference the allegations set forth in the preceding

paragraphs, as if fully set forth herein.

        210.    Defendant's above-described recurring conduct, acts, omissions, negligence, and

impropriety included aggravating factors giving rise to a claim of punitive damages under

Chapter 1D of the North Carolina General Statutes.

        211.    Pursuant to N.C. Gen. Stat. § 1D-15(a), Defendant is properly liable for punitive

damages in this action in that Defendant is liable for compensatory damages and has committed

one or more aggravating acts or omissions justifying an award of punitive damages, including

without limitation, recurring acts of egregious and reckless behavior, and specific instances of

willful and wanton conduct.




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         212.    The recurring conduct, acts, omissions, negligence, and impropriety of the

Defendant were willful, wanton, malicious, and in reckless disregard for the rights and interests

of the Plaintiffs and justify an award of punitive damages. Accordingly, Plaintiffs demand

judgment against Defendant for punitive damages in an amount to be determined at trial.

                                           JURY DEMAND

         Plaintiffs respectfully request a trial by jury of all claims so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, the Plaintiffs pray that this Court:

         A.      Award the Plaintiffs compensatory damages, in an amount to be determined at

trial;

         B.      Award the Plaintiffs punitive damages;

         C.      Award the Plaintiffs pre-judgment and post-judgment interest and any other costs,

expenses or fees to which they may be entitled by law; and

         D.      Award the Plaintiffs such other and further relief as is just and proper.

         A JURY IS RESPECTFULLY DEMANDED TO TRY THESE ISSUES.

         Respectfully submitted, this the 21st day of May, 2018.

                                         By:     s/Mona Lisa Wallace
                                                 Mona Lisa Wallace
                                                 NCSB #9021
                                                 John Hughes
                                                 NCSB #22126
                                                 Wallace & Graham, P.A.
                                                 525 North Main Street
                                                 Salisbury, NC 28144
                                                 Phone: 704-633-5244
                                                 Fax: 704-633-9434
                                                 mwallace@wallacegraham.com
                                                 jhughes@wallacegraham.com




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                                CERTIFICATE OF SERVICE


       I do hereby certify that on the 21st day of May, 2018, I filed a true and correct copy of the

above and foregoing THIRD AMENDED COMPLAINT with the Clerk of Court using the

CM/ECF system, which will send notification of such filing (NEF) to all CM/ECF registered

attorneys indicated on the NEF, including counsel for Defendant.

                                      By:    s/Mona Lisa Wallace
                                             Mona Lisa Wallace, NCSB #9021
                                             John Hughes, NCSB #22126
                                             Wallace & Graham, P.A.
                                             525 North Main Street
                                             Salisbury, NC 28144
                                             Phone: 704-633-5244
                                             Fax: 704-633-9434
                                             mwallace@wallacegraham.com
                                             jhughes@wallacegraham.com




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